Case 5:20-cv-00190-JPB-JPM Document 137-6 Filed 03/22/22 Page 1 of 10 PageID #:
                                    1074
Case 5:20-cv-00190-JPB-JPM Document 137-6 Filed 03/22/22 Page 2 of 10 PageID #:
                                    1075
Case 5:20-cv-00190-JPB-JPM Document 137-6 Filed 03/22/22 Page 3 of 10 PageID #:
                                    1076
Case 5:20-cv-00190-JPB-JPM Document 137-6 Filed 03/22/22 Page 4 of 10 PageID #:
                                    1077
Case 5:20-cv-00190-JPB-JPM Document 137-6 Filed 03/22/22 Page 5 of 10 PageID #:
                                    1078
Case 5:20-cv-00190-JPB-JPM Document 137-6 Filed 03/22/22 Page 6 of 10 PageID #:
                                    1079
Case 5:20-cv-00190-JPB-JPM Document 137-6 Filed 03/22/22 Page 7 of 10 PageID #:
                                    1080
Case 5:20-cv-00190-JPB-JPM Document 137-6 Filed 03/22/22 Page 8 of 10 PageID #:
                                    1081
Case 5:20-cv-00190-JPB-JPM Document 137-6 Filed 03/22/22 Page 9 of 10 PageID #:
                                    1082
Case 5:20-cv-00190-JPB-JPM Document 137-6 Filed 03/22/22 Page 10 of 10 PageID #:
                                    1083
